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 8                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                             EASTERN DIVISION
10
11   ANNETTE ROBINSON,                  )          CASE NO.: EDCV 19-00797 MAA
                                        )
12                      Plaintiff,      )          ORDER AWARDING
                                        )          EAJA FEES
13                v.                    )
                                        )
14   ANDREW SAUL, Commissioner          )
     of Social Security Administration, )
15                                      )
                        Defendant.      )
16   ______________________________ )
17         Based upon the parties’ Stipulation for Award and Payment of Equal Access
18   to Justice Act (EAJA) Fees (“Stipulation”),
19         IT IS ORDERED that Plaintiff shall be awarded attorney fees under the
20   Equal Access to Justice Act, ("EAJA”) in the amount of TWO THOUSAND
21   SEVEN HUNDRED FIVE DOLLARS and 25/cents ($2,705.25), as authorized by
22   28 U.S.C. § 2412 (d), and subject to the terms and conditions of the Stipulation.
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24
25         DATED:10/02/20            __________________________________
                                     HONORABLE MARIA A. AUDERO
26                                   UNITED STATES MAGISTRATE JUDGE
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